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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 OMAR RASHAD POUNCY,

       Petitioner,                                    Case No. 13-cv-14695
                                                      Hon. Matthew F. Leitman
 v.

 CARMEN D. PALMER,

      Respondent.
 __________________________________________________________________/

             ORDER IN RESPONSE TO REQUEST (ECF No. 470)

       Petitioner Omar Pouncy has filed a Request in which he states that officials

 with the Michigan Department of Corrections are preventing him from having access

 to his attorney and that the restricted access is impacting his ability to prepare his

 case on appeal. The Court directs Pouncy to have his attorney file a Notice with the

 Court if counsel believes that access is, in fact, being impeded by the MDOC. If

 counsel files such a Notice, the Court will review it.

       IT IS SO ORDERED.

                                         s/Matthew F. Leitman
                                         MATTHEW F. LEITMAN
                                         UNITED STATES DISTRICT JUDGE

 Dated: May 18, 2023




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        I hereby certify that a copy of the foregoing document was served upon the
 parties and/or counsel of record on May 18, 2023, by electronic means and/or
 ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




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